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                               Exhibit R
Bakken’s Objections to Defendant’s Proposed Orders Submitted to the Court on April 5,
2017, filed on April 10, 2017 in the matter Bakken Resources, Inc. v. Holms, CDV-2016-612
pending in the Montana First Judicial District Court, Lewis & Clark County. Note that all four
proposed orders are attached herewith.
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Attorneys for Third Party Defendants



  MONTANA FIRST JUDICIAL DISTRICT COURT, LEWIS AND CLARK COUNTY


BAKKEN RESOURCES, INC.,

                         Plaintiff,                          CauseNo.CDV-2016-612
                -vs-




VAL M. HOLMS, ALLAN G. HOLMS, TODD
JENSEN and ALLEN COLLINS,                                THIRD-PARTY DEFENDANTS'
                                                      JOINDER IN PLAINTIFF BAKKEN
                         Defendants and                RESOURCES, INC.'S OBJECTION
                       Third Party Plaintiffs,          TO DEFENDANTS' AND THIRD-
                                                       PARTY PLAINTIFFS' PROPOSED
              -vs-                                      ORDER SUBMITTED TO THE
                                                          COURT ON APRIL 5, 2017
KAREN MIDTLYNG, DANIEL D.
ANDERSON, and WESLEY J. PAUL, and
JOHN DOES 1-20,

                       Third Party Defendants.



       On April 10, 2017, Plaintiff, Bakken Resources, Inc. (BRI), filed Objection to Defendants'


Proposed Order Submitted to the Court on April 5,2017. Third-Party Defendants Daniel Anderson


(Anderson), Karen Midtlyng (Midtlyng), and Wesley Paul (Paul) (collectively Third-Party

Defendants) hereby file their joinder in BRI's objection. Third-Party Defendants will not reiterate


the arguments made by BRI and therefore joins in, adopts, and incorporates herein BRI's objection.
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Third-Party Defendants strenuously object to the contents of Defendants' Proposed Order and asks


the Court not to consider the new "facts," evidence, and arguments contained therein.


       DATED this _|_L'day of April, 2017.

                                     UC^RJN, ALEXANDER, ZADICK & HIGGINS, P.C.




                                               rdan Y. Cros^y
                                                ies R. Zadi^k
                                               ttomeys for Tterd-Ifarty Defendants
      Case 1:15-cv-08686-ALC Document 73-18 Filed 05/26/17 Page 7 of 120




                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was duly served upon the following by mail, Federal
Express, Hand-delivery or Facsimile transmission:


   [ X ] U.S. Mail [ ] Federal Express [ ] Hand-Delivery [ ] FAX transmission



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       Attorneys for Defendants & Third-Party Plaintiffs


       DATED this _ day of April, 2017.




                                    UGRIN, ALEXANDER, ZADICK & HIGGINS, P.C.
       Case 1:15-cv-08686-ALC Document 73-18 Filed 05/26/17 Page 8 of 120




     MONTANA FIRST JUDICIAL DISTRICT COURT, LEWIS AND CLARK COUNTY


BAKKEN RESOURCES, INC.,

                        Plaintiff,                          Cause No. CDV-2016-612
               -vs-




VAL M. HOLMS, ALLAN G. HOLMS, TODD
JENSEN and ALLEN COLLINS,
                                                       THIRD-PARTY DEFENDANTS'
                        Defendants and                  NOTICE OF SUBMITTAL OF
                      Third Party Plaintiffs,              PROPOSED ORDER

              -vs-




KAREN MIDTLYNG, DANIEL D.
ANDERSON, and WESLEY J. PAUL, and
JOHN DOES 1-20,

                      Third Party Defendants.



        Third-Party Defendants Karen Midtlyng, Daniel D. Anderson, and Wesley J. Paul (Third-


Party Defendants) by and through their attorney of record, Jordan Y. Crosby, hereby submits the


following attached proposed Order (Exhibit A) for the Court's consideration:


        1. Order Granting Third-Party Defendants' Motion to Dismiss.


//

//

//
      Case 1:15-cv-08686-ALC Document 73-18 Filed 05/26/17 Page 9 of 120



                       lt>
       DATED this U' day of April, 2017.

                                        RI^, ALEXANDER, ZADICK & HIGGINS, P.C.

                                                                         ,')




                                    By-^lM-^ UT^
                                            ^rdan Y. Crosby/^
                                          /J^mes R. ZadicW
                                         ^/Attorneys for ThhcLEirty Defendants




                                 CEJRTIFICATE OF SERVICE

       I hereby certify that the foregoing was duly served upon the following by mail, Federal
Express, Hand-delivery or Facsimile transmission:


   [X]U.S.Mail [ ] Federal Express [ ] Hand-Delivery [ ] FAX transmission

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       Attorneys for Defendants & Third-Party Plaintiffs


       DATED this _'day of April, 2017.




                                    UGRIN, ALEXANDER, ZADICK & HIGGINS, P.C.
Case 1:15-cv-08686-ALC Document 73-18 Filed 05/26/17 Page 10 of 120




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  MONTANA FIRST JUDICIAL DISTRICT COURT, LEWIS AND CLARK COUNTY


BAKKEN RESOURCES, WC.,

                        Plaintiff,                            CauseNo.CDV-2016-612
               -vs-



VAL M. HOLMS, ALLAN G. HOLMS, TODD
JENSEN and ALLEN COLLINS,
                                                          ORDER GRANTING THIRD-
                        Defendants and                  PARTY DEFENDANTS' MOTION
                      Third Party Plaintiffs,                   TO DISMISS

              -vs-



KAREN MIDTLYNG, DANIEL D.
ANDERSON, and WESLEY J. PAUL, and
JOHN DOES 1-20,

                      Third Party Defendants.



       Third-Party Defendants Karen Midtlyng, Daniel D. Anderson, and Wesley J. Paul (Third-


Party Defendants) have moved to dismiss the Third-Party Complaint brought by Third-Party


Plaintiffs Allan G. Holms (Allan), Todd Jensen (Jensen), and Alien Collins (Collins) (collectively

"Third-Party Plaintiffs"). Third-Party Plaintiffs oppose the motion. The motion has been fully


briefed. Third-Party Defendants filed their Notice of Submittal on January 24,2017. Accordingly,


this motion is deemed submitted.


       Based on the Court's findings that (1) Third-Party Plaintiffs lack standing to bring claims on
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behalf of Bakken Resources Inc. (BRI) and their claims are not ripe and thus notjusticiable; (2) the


third-party claims are procedurally deficient derivative claims that fail to comply with the clear


requirements of applicable law; (3) the principles of comity and the "first to file" doctrine are


applicable in this matter and deference should be given to the Nevada litigation; (4) Third-Party


Plaintiffs' claims are inadequate third-party claims under Rule 14(a)(4) and (5), M.R.Civ.P; and (5)


the attomey-client privilege bars claims against corporate counsel Paul,


           IT IS HEREBY ORDERED that Third-Party Defendants' Motionto Dismiss is GRANTED

and Third-Party Plaintiffs' Third-Party Complaint is hereby DISMISSED. The remaining parties

shall appropriately correct the caption in this case to reflect this Court's ruling.


       DATED this _ day of_,2017.

                                                        James P. Reynolds
                                                        District Court Judge



                                         MEMORANDUM

I. FACTS:

       Based on the record before this Court, the following facts are undisputed:


           1. B akken Resources Inc. (BRI) is a public corporation incorporated in Nevada with its


principal place of business in Helena, Montana.


       2. Third-Party Plaintiffs consist of shareholder Allan and non-shareholders Jensen and


Collins.


       3. Midtlyng is a Director and Corporate Secretary ofBRI.


       4. Anderson is a Director and Chief Financial Officer ofBRI.
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        5. Paul is BRI's corporate counsel.


        6. On July 21, 2017, BRI filed suit against Allan, Jensen, and Collins, as well as Val


Holms (Val) the former Chief Executive Officer ofBRI. BRPs suit arises out of a series of events


culminating in an attempted improper "take-over" of the BRI board and offices.


        7. On or about July 20, 2016, Third-Party Plaintiffs and Val purported to execute proxies


to elect a new Board consisting of Allan, Jensen, and Collins, and then purported to install Allan as


President and terminate Midtlyng, Anderson, and Paul.


        8. In response to Third-Party Plaintiffs' and VaP s actions, BRI was forced to bring suit


filing a Complaint and Application for Temporary Restraining Order (TRO) and Injunctive Relief on


July 21, 2017.


        9. BRP sTRO was granted on July 22,2016, and extended by order on August 1,2016.


Based on subsequent orders of this Court, the Court has sought to maintain the status quo and the


TRO remains in effect as of this filing.


        10. In response to BRPs complaint, on August, 8,2016, Third-Party Plaintiffs filed their


Answer and Third-Party Complaint asserting third-party claims against Midtlyng, Anderson, and


Paul wholly unrelated to the liability BRI alleges against Third-Party Plaintiffs. In particular, Third-


Party Plaintiffs allege that BRI's Board improperly failed to hold an Annual Meeting of

Shareholders, that no directors were elected from November 2014 through July 2016, that proxies


representing a majority ofBRI stock were executed appointing Allan and electing Allan, Jensen, and


Collins to the Board, and that this new Board terminated Midtlyng, Anderson, and Paul and elected


new officers. Third-Party Plaintiffs also allege that Midtlyng, Anderson, and Paul have refused to
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comply with these actions, leave their positions with BRI, or turn over control of BRI assets and


information, and have improperly instigated the present litigation.


        11. The Third-Party Complaint specifically seeks or alleges: (1) injunctive relief


prohibiting the Third-Party Defendants from taking action on behalf of BRI, interfering with BRI's


business, from entering BRI's property, and from accessing, controlling, or using BRI funds and


financial accounts; (2) declaratory relief that the proxies appointing Allan validly elected a new


Board and terminated the Third-Party Defendants; and findings that: (3) Third-Party Defendants


breached their contracts with BRI; (4) Third-Party Defendants breached the implied covenant of


good faith and fair dealing owed to BRI; (5) Third-Party Defendants breached their fiduciary duty


owed to BRI and its shareholders; (6) Third-Party Defendants converted and/ormisappropriated BRI


property; and (7) Third-Party Defendants are trespassing or wrongfully occupying BRI property.


        12. The Third-Party Complaint in this case is identical to a complaint that was previously


brought, purportedly on behalf of BRI, against Midtlyng, Anderson, and Paul in the Montana First


Judicial District, Bakken Resources, Inc., v. Daniel D. Anderson, Karen Midtlyng, Wesley J. Paul,


and John Does 1-10, Cause No. DV 2016-611 ("the 611 case").


        13. The 611 case was dismissed with prejudice on August 6,201 6, just four days prior to


the filing of the Third-Party Plaintiffs' Complaint.

        14. There is also derivative litigation ongoing in the Second Judicial District Court of the

State of Nevada, for the County of Washoe, Cause No. CV14-00544 ("the Nevada Derivative


action").


        15. In the Nevada Derivative action, BRI shareholders Manuel Graiwer (Graiwer) and



! On January 5, 2017, BRI filed a Suggestion of Death of Defendant Val M. Hohns advising the Court ofVal's
                                                    4
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T.J. Jesky brought derivative claims on behalf of BRI against Val, BRI Board members, the previous


BRI CFO, Midtlyng, and Paul.


          16. Graiwer was among the shareholders that executed proxies that gave rise to the


situation at issue in the present litigation and the Third-Party Complaint.


          17. The Nevada Derivative action alleges breaches of fiduciary duty, gross negligence and


corporate waste against BRI directors and officers, and alleges breach of fiduciary duty, unjust


enrichment, and civil conspiracy against Paul. It seeks to recover allegedly excessive royalty


payments made to Holms Energy, LLC, and seeks to recover alleged improper payments made to


Paul.


          18. Val also previously filed a complaint against BRI, Anderson, Midtlyng, and BRI


Board members in the Second Judicial District Court of the State of Nevada, for the County of


Washoe, Cause No. CV16-01086, on May 17,2016 ("the Val Nevada action") related to the Nevada


Derivative action.


          19. The Val Nevada action arises out of the Nevada Derivative action and alleges breach


of fiduciary duty by the BRI board regarding changes to BRI bylaws and the terms of financing,


alleges tortious interference with contract relating to alleged interference with Val's attempts to settle


claims in the Nevada Derivative action, and seeks injunctive relief requiring BRI and its Board to


refrain from interfering with settlements in the Derivative action or breaching their fiduciary duties.


         20. Pursuant to stipulation, the Val Nevada action was transferred to Nevada District


Court Judge Patrick Flanagan and consolidated with the Nevada Derivative action.


         21. On June 27,2016, Judge Flanagan held a nearly full day hearing on Val' s request for



death on December 24, 2016.
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the issuance of a preliminary injunction. The Court has been provided with a full hearing transcript


from these proceedings. At the hearing, oral argument from attorneys on behalf of Val and counsel


for BRI, Anderson, Midtlyng, and BRI Board members was presented. Additionally, two witnesses


were called by defendants, Anderson and Carl George (George), one of the Principals of Eagle


Private Equity.


        22. Following the hearing, Judge Flanagan issued an oral decision, which was later


memorialized in his July 14, 2016, Order denying Val's request for preliminary injunction.


Specifically, Judge Flanagan found the testimony ofAnderson and George credible. Judge Flanagan


also held:


                  The Court finds the ability of a company to maintain institutional knowledge
       is important, that capitalism is a game of risk, and none of the procedures set forth in
       the agreement between Eagle Private Equity and BRI are illegal or improper....
       Importantly, [Val's] counsel admitted during argument that nothing BRI or its
       Directors had done was illegal.


                  The Court further finds Nevada's business judgment rule, codified at NRS
       78.138(3), sets forth a presumption that in making a business decision the Directors
       of the Company acted on an informed basis, in good faith and in the honest belief the
       action was taken in the best interests of the Company.


                  Given the evidence presented to this Court, as viewed under the template of
       the business judgment rule set forth above, as well as the standards Plaintiff is
       required to establish to convert a TRO into a preliminary injunction, the Court finds
       Plaintiff [Val] Holms (1) does not enjoy a likelihood of success on the merits, and (2)
       will not suffer irreparable harm if the TRO entered on May 24,2016 is dissolved and
       vacated.


Judge Flanagan thus dissolved and vacated the TRO entered on May 24, 2016, on Val's behalf.


       21. Judge Flanagan' s June 27, and subsequent July 14, Orders occurred prior to the July


20, 2016, attempted improper take-over.


       22. On July 22, 2016, Judge Flanagan following a hearing with all counsel, issued a TRO
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against Val and Graiwer preventing any immediate or irreparable harm to BRI and its Board of


Directors. Judge Flanagan found in pertinent part that Defendants BRI, Anderson, Midtlyng, and


BRI Board members:


                [H]ave a reasonable probability of success on their arguments that the voting
        proxies executed by Val Holms on July 7,2016 purporting to t-ansfer to Allan Holms
        twenty-six million two hundred thirty-five thousand (26,235,000) shares of Common
        Stock in BRI, and by Manual Graiwer on July 29, 2016, purporting to transfer his
        shares to Allan Holms are invalid based on SEC regulations pertaining to proxy
        solicitations....


                The Court further finds that Defendants have a reasonable probability of
        success on their arguments that Eagle Private Equity has properly exercised its rights
       to convert its loans in the Company to Series A Preferred Stock under the agreement
       it has with BRI and in so doing has obtained six hundred thousand (600,000) shares
        of Series A Preferred Stock granting to Eagle Private Equity sixty million
        (60,000,000) shares of Common Stock in BRI. The 60,000,000 shares held by Eagle
       Private Equity are the majority of voting shares of all BRI stock. Consequently, the
        Court also finds Defendants have a reasonable probability of success on their
        argument that even if the subject voting proxies are valid Eagle Private Equity holds
       a majority of the voting shares in the Company and thus renders the subject takeover
        attempt ineffectual.


       23. Judge Flanagan's TRO permitted BRI, the Directors, and Paul to take any actions


necessary to contest the same takeover attempt at issue here, permitted those defendants to access the


BRI accounts at Wells Fargo, and enjoined any person from inhibiting such access.


       24. On October 25, 2016, Judge Flanagan extended the TRO pending resolution of the


Nevada proceedings. This TRO continues in effect to date.


II. ANALYSIS:

       A. As a Threshold Matter, Third-Party Plaintiffs Lack Standing To Bring Their
                Unripe Claims.


       Dismissal is appropriate pursuant to Rule 12(b)(l), M.R.Civ.P, because Third-Party Plaintiffs


lack standing to bring their Third-Party Complaint. Standing is, of course, a "threshold,

                                                  7
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jurisdictional requirement in every case." Heffernan v. M.issoula City Council, 2011 MT 91, ^ 29,


360 Mont. 207, 255 P.3d 80 (emphasis added).

        The right to bring claims on behalf of a corporation like BRI - otherwise known as


possessing standing - is held by the corporation's board of directors. Shoen v. SAG Holding


Corporation, 137 P.3d 1171, 1178 (Nev. 2006) ("Ordinarily, under Nevada's corporations' laws, a


corporation's 'board of directors has full control over the affairs ofthe corporation.' ... In managing


the corporation's affairs, the board of directors may generally decide whether to take legal action on


the corporation's behalf."). The exception to this rule is a shareholder derivative suit. Id. at 1179.


       Derivative claims are fundamentally those claims brought by shareholders to redress alleged


harm by directors or officers. See e.g., Kamen v. Kemper Fin. Servs., Inc., 500 U.S. 90, 95 (1991)


("[T]he purpose of the derivative action [is] to place in the hands of the individual shareholder a

means to protect the interest of the corporation from the misfeasance and malfeasance of 'faithless


directors and mangers.'"). As the Supreme Court of Delaware has recognized, "to have standing to


sue individually, rather than derivatively on behalf of the corporation, the plaintiff must allege more


than an injury resulting from a wrong to the corporation." Kramer v. W. Pac. Indus., Inc., 546 A.2d


348, 351 (Del. 1988). With a derivative suit, shareholders, and it's important to reiterate that Allan


is the only BRI shareholder among the Third-Party Plaintiffs, may assert claims on behalf of the


corporation.


       Third-Party Plaintiffs' claims, for example in Causes of Action Three through Seven, are


explicitly premised on wrongs to BRI and are not separate or distinct from injuries that would be
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suffered by BRI shareholders generally, making them undoubtedly derivative claims. See Cohen v.


Mirage Resorts, Inc., 62 P.3d 720, 734 (Nev. 2003); see also Fames v. BallyEntm't Corp., 722 A.2d


1243, 1245 (Del. 1999) ("Stockholders may sue on their own behalf (and, in appropriate

circumstances, as representatives of a class of stockholders) to seek relief for direct injuries that are


independent of any injury to the corporation."); Gullettv. VanDyke Const. Co., 2005 MT 105, ^ 14,


327 Mont. 30, 111 P.3d 220 ("The general rule is that shareholders may not sue upon a cause of


action belonging to their corporation.").


         As a derivative action on behalf of BRI, the law of the place of incorporation governs the


prerequisites necessary to bring a shareholder derivative action. See § 35-1-548, MCA. There is no


dispute that BRI is a Nevada corporation. Accordingly, any derivative claims against BRI officers


must comply with the requirements of Nevada law regarding the prerequisites for derivative suits.


See Nev.R.Civ.Pro. 23.1; Shoen, 137 P.3d at 1180. As Shoen recognized, individual shareholders do


not have standing to bring claims on behalf of a corporation outside of the derivate suit context.


5'/!o^,137P.3datll80.


         Here, Third-Party Plaintiffs have not been adjudicated to be the BRI Board. Third-Party


Plaintiffs' response relies upon conclusory, and inaccurate, allegations regarding the propriety of the


proxies and their alleged status as BRI Board members. Essentially, Third-Party Plaintiffs claim that


their third-party claims are appropriate because the proxies were proper and because they are the new


BRI Board. Their argument is circular, however, because the validity of these proxies, and whether


the Third-Party Plaintiffs are indeed the Board, are central questions still at issue. These preliminary




2 While the Third-Party Plaintiffs confusingly claim that they are not bringing a derivative suit a derivative suit is
the only legal mechanism that grants them standing to bring their Third-Party Complaint.
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issues have yet to be adjudicated in either context.


         Allan, the only Third-Party Plaintiff shareholder, cannot individually bring claims on behalf


of BRI unless he brings a shareholder derivative suit on behalf of BRI that complies with the


requirements of Nevada law. Importantly, the Third-Party Plaintiffs' Complaint has wholly failed to


comply with Nevada law's clear requirements regarding derivative suits. In particular, the Third-


Party Complaint has failed to comply with Nevada Rule of Civil Procedure 23.1, which requires that


derivative complaints be verified and allege with particularity the demand efforts the plaintiff


shareholders made to the directors to obtain the action they seek in the derivative complaint. See


Nev.R.Civ.P. 23.1; see also NRS 41.520(2) (requiring that a derivative complaint set forth with


particularity the efforts the plaintiffs took to secure the action they desire from the board of


directors). In particular, Nevada Rule of Civil Procedure 23.1 states:


         In a derivative action brought by one or more shareholders or members to enforce a
         right of a corporation or of an unincorporated association, the corporation or
         association having failed to enforce a right which may properly be asserted by it, the
         complaint shall be verified and shall allege that the plaintiff was a shareholder or
         member at the time of the transaction of which the plaintiff complains or that the
         plaintiffs share or membership thereafter devolved on the plaintiff by operation of
         law. The complaint shall also allege with particularity the efforts, if any, made by the
         plaintiff to obtain the action the plaintiff desires from the directors or comparable
         authority and, if necessary, from the shareholders or members, and the reasons for the
        plaintiffs failure to obtain the action or for not making the effort.


The baseline rule is that in a shareholder derivative lawsuit brought to enforce a right of the


corporation, the plaintiff shareholder must first make a formal demand on the corporate board to take


corrective action. Shoen, at 1171. Schoen cites directly to the clear requirements of Nevada law at


NRS 41.520(2): "the complaint must also set forth with particularity the efforts of the plaintiff to



3 Rule 23.1 (b), M.R.Civ.P., also requires that a derivative complaint be verified and state with particularity any
efforts regarding demand made to the directors.
                                                        10
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secure from the board of directors or tmstees and, if necessary, from the shareholders such action as


he desires, and the reasons for his failure to obtain such action or the reasons for not making such


effort." Id., at n. 14 (emphasis added).4 The Nevada Supreme Court is unequivocal: "[a]


shareholder's failure to sufficiently plead compliance with the demand requirement deprives the


shareholder of standing and justifies dismissal of the complaint for failure to state a claim upon


which relief may be granted." Id., at 1180 (emphasis added).


         Here, the Third-Party Plaintiffs' Third-Party Complaint fails to plead any compliance with


the demand requirement. Moreover, two of the Third-Party Plaintiffs—Jensen and Collins—have


utterly failed to plead that they are indeed shareholders at the time the actions occurred. Lastly,


Third-Party Plaintiffs' complaint is not verified. As a result of the failure to comply with Rule 23.1,


N.R.Civ.P., andNRS 41.520(2)'s requirements, Alien lacks standing to bring his derivative suit as a


BRI shareholder. Furthermore, Jensen and Collins lack standing to bring a derivative suit in the first


place since they did not plead that they are (and are in fact not) shareholders. Dismissal is thus


appropnate.


         Essentially, because Third-Party Plaintiffs admit that they are not bringing a derivative suit,


they have failed to comply with Nevada law's requirements regarding derivative suits regardless, and


because Allan, the only BRI shareholder, may not bring claims on behalf of BRI as an individual


shareholder outside of the derivative mechanism, Third-Party Plaintiffs only possess standing to


bring their third-party claims on behalf of BRI if they are determined to be the BRI Board. That has


not happened. Therefore, the Third-Party Plaintiffs' claims on behalf of BRI are not ripe, as their




4 Similarly, § 35-1-543, MCA, provides that a derivative action may not commence without written demand
to the corporation.
                                                   11
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fundamental standing to bring claims on behalf of BRI claims is contingent upon other, unresolved


claims, namely a determination that they are the BRI Board. See Havre Daily News v. City ofHavre,


2006 MT 215, ^ 18, 333 Mont 331, 142 P. 3d 864.

         Montana courts simply "will not act when the legal issue raised is only hypothetical or the


existence of the controversy is merely speculative," Havre Daily News, ^19, and Third-Party


Plaintiffs' assertion that they have a right to bring claims on behalf ofBRI as the BRI Board is


merely hypothetical or speculative until the present litigation considering this very issue has been


resolved. Until and unless these questions are resolved in favor of the Third-Party Plaintiffs, the only


other legal mechanism by which they could assert claims on behalf of BRI is through a derivate suit,


and, as explained above, and the Third-Party Plaintiffs have failed to comply with Nevada law on


derivate suits. As a result, the Third-Party Plaintiffs lack standing to bring claims on behalf of BRI,


the third-party claims brought on behalf of BRI are notjusticiable because they are not ripe, and the


Third-Party Complaint must be dismissed. See Shoen, 137 P.3d at 1180; Reichert v. State ex rel.


McCulhch, 2012 MT 111, ^ 53-54, 365 Mont. 92,115,278 P.3d 455,471 (noting that the judicial

power of Montana courts is limited to justiciable controversies, and ripeness is an element of


justiciability).

        B. Dismissal of the Third-Party Complaint Must Occur In Deference To The
                   Nevada Proceedings.


        The Montana Supreme Court has recognized that principles ofcomity, specifically the "first


to file" doctrine, supports dismissal "when a complaint involving the same parties and issues has


already been filed in another district." See Wamsley v. NodakMut. Ins. Co., 2008 MT 56, ^31-32,


341 Mont. 467,178 P.3d 102; see also Pacesetter Systems, Inc. v. Medtronic, Inc., 678 F.2d 93, 94-



                                                   12
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95 (9th Cir. 1982). Importantly, "the first-to-file rule requires only substantial similarity of parties,"


as courts recognize that gamesmanship often comes with the forum shopping that the "first to file"


doctrine seeks to prevent. KohnLaw Grp., Inc. v. Auto Parts Mfg. Mississippi, Inc., 787 F.3d 1237,


1239-40 (9th Cir. 2015) (emphasis added). District courts are afforded "an ample degree of


discretion" when staying proceedings, as a matter ofcomity, in favor of a previously filed action in


another state. Warns ley, ^32.


        The Ninth Circuit has further provided that courts should look to the "chronology of the


lawsuits, similarity of the parties, and similarity of the issues." Kohn Law Grp., Inc., 787 F.3d at


1239-40. Essentially, "where substantially identical actions are proceeding in different courts, the


court of the later-filed action should defer to the jurisdiction of the court of the first-filed action by


either dismissing, staying, or transferring the later filed suit." SAES Getters S.p.A. v. Aeronex, Inc. ,


219 F.Supp.2d 1081, 1089 (S.D.Cal. 2002). Courts have recognized that "[t]he first-to-file rule is


intended to ' serve [ ] the purpose of promoting efficiency well and should not be disregarded


lightly.'" Kohn Law Grp., Inc., 787 F.3d at 1239. Basically, under the "first to file" doctrine, a


district court may decline to exercise jurisdiction over an action in favor ofapreviously-filed action


in another state.


        Third-Party Plaintiffs improperly argue that dismissal in favor of the Nevada litigation under


the principle ofcomity is inappropriate because: (1) BRI brought claims against them in this Court;


(2) BRI was "not the first to file in Nevada;" and (3) the litigation in Nevada is "different." The


Court does not agree. First, the Nevada Derivative action was initiated in 2014, long before BRI


brought suit against Defendants/Third-Party Plaintiffs and VaPs Nevada action, also brought before


BRI brought the present suit, will determine the validity ofVal's proxies and the Eagle financing

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deal. Most importantly, BRI only initiated the present litigation in this Court in response to the


Defendants'/Third-Party Plaintiffs' improper takeover attempt. Third-Party Plaintiffs' actions in


Montana are simply attempts to circumvent and outrun the Nevada litigation. BRI's litigation would


not be occurring before this Court but for Defendants VThird-Party Plaintiffs' improper actions in


Montana. The essential goal ofBRI's claims against the Defendants/Third-Party Plaintiffs in this


Court is to halt their improper takeover actions in Montana so as to permit the Nevada litigation,


which was already filed, to proceed.


        Here, comity and the "first to file" doctrine support dismissal of any proceedings related to


the Third-Party Complaint in favor of the previously filed Nevada actions. The Nevada actions


involve the same basic questions of BRI governance at issue in the Third-Party Complaint, and


involve largely the same parties, as both the Val action and the Derivative action bring claims against


various Third-Party Defendants. Both Nevada actions are at a more advanced stage than the present


litigation, as several substantive hearings have occurred, and Judge Flanagan is fully familiar with


the parties and issues involved. Furthermore, at least two substantive and relevant orders have been


issued by the Nevada court. In particular, the Nevada court's July 14, 2016, Order dissolving and


vacating Val's TRO demonstrates that the Nevada court has heard substantive argument, testimony,


and reviewed significant briefing on the Eagle Private Equity line of credit and has determined that


the decision to enter into such transaction was neither illegal nor improper. The propriety of the


Eagle deal, which could affect who holds a controlling shares ofBRI stock (and is accordingly able


to vote in a new Board) is at issue in the Nevada litigation, and clearly bears on the Third-Party


Complaint in this case.




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        These issues, particularly the legality and validity of the proxies appointing Allan and the


purported illegal attempted Board takeover, are, again, directly at issue here. The Nevada actions are


at a more advanced stage of litigation, and the Nevada court has substantively considered and ruled


on the same issues raised by the Third-Party Complaint here. This supports dismissal in deference to


the Nevada actions. See 24 Hour Fitness USA, Inc. v. Salminen, 2012 WL 4434290, at *1-2 (D.


Mont. June 21, 2012) (ordering dismissal in favor of the previously filed litigation in another court


because, in part, "[t]he Northern District of California is much more familiar with the parties'


disputes than is this Court."). The essence of issues in the Nevada and Montana actions is the


same—the governance of BRI and the propriety of the Eagle transaction—and the parties


substantially overlap, and exact similarity is not required with regards to either. See Kohn Law Grp.,


Inc., 787 F.3 d at 1240. In particular, all three actions involve alleged breaches of fiduciary duty and


alleged misconduct by BRI officers and directors, including the Third-Party Defendants. Moreover,


the parallel injunctive relief claims in the Val Nevada action and Third-Party Complaint raise the


prospect of potentially conflicting injunctive relief being granted regarding the governance and


operations ofBRI. The Court finds that the principles of comity and the "first to file" rule dictate


dismissal of the Third-Party Complaint to allow the Nevada courts to be allowed the opportunity to


address the specific matters at issue here.


        C. The Third-Party Complaint is an Improper Third-Party Suit.


        Alternatively, the Third-Party Complaint flatly fails to comply with the widely-recognized


requirements of third-party practice, and should be dismissed. Rule 14, M.R.Civ.P., governs third-


party practice in Montana. Rule 14(a)(l) provides that: "A defending party may, as third-party


plaintiff, serve a summons and complaint on a nonparty who is or maybe liable to it for all or part of

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the claim itself." The latter part of subsection 14(a)(l), "for all or part of the claim against it," is key.


 Authority interpreting this language uniformly concludes that the language requires that third-party


claims must seek to transfer the liability alleged against the defendant/third-party plaintiff by the


plaintiff to the third-party defendant.


        Legal treatise Wright and M.iller, Federal Practice and Procedure provides guidance in


interpreting Rule 14, stating:


        The objective of Rule 14 is to avoid the situation that arises when a defendant has
        been held liable to plaintiff and then finds it necessary to bring a separate action
        against a third individual who may be liable to defendant for all or part of plaintiff s
        original claim.


6 Fed. Prac. & Proc. Civ. § 1442 (3d ed.). Rather, the following types of claims are contemplated by


Rule 14:

        A third-party claim may be asserted under Rule 14(a)(l) only when the third party's
        liability is in some way dependent on the outcome of the main claim or when the
        third party is secondarily liable to the defending party..... The crucial characteristic
        of a Rule 14 claim is that defendant is attempting to transfer to the third-party
        defendant the liability asserted against defendant by the original plaintiff. The mere
        fact that the alleged third-party claim arises from the same transaction or set of facts
        as the original claim is not enough.


6 Fed. Prac. & Proc. Civ. § 1446 (3d ed.) (emphasis added).


        In an attempt to demonstrate compliance with Rule 14 requirements, Third-Party Plaintiffs


claim that Third-Party Defendants "may well have liability to Defendants here." Third-Party


Plaintiffs misstate the requirements of Rule 14. Rule 14 does not require that Third-Party


Defendants "may" be liable, rather it requires that the third-party claims must seek to shift liability


Third-Party Plaintiffs face because ofBRPs initial claims to the Third-Party Defendants. Nor is it


simple enough that the claims "are very intertwined" as alleged by Third-Party Plaintiffs. The



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authority provides that: "[t]he distinguishing and essential characteristic of a Rule 14 claim is that the

third party's liability to the original defendant must, in some way, derive from and be conditional


upon a finding that the original defendant is liable to the original plaintiff." 1 Fed.R.Civ.P., Rules


and Commentary, Rule 14.


         This is clearly not the purpose of the Third-Party Complaint here, which explicitly fails to


recover from Third-Party Defendants due to any liability imposed by BRI's original claims. For


example, Causes of Action One and Two are for injunctive and declaratory relief which clearly fall


outside the parameters of Rule 14. Causes of Action Three through Five are for Breach of Contract,


Breach of the Covenant of Good Faith, and Breach of Fiduciary Duty, and are defective derivative


claims on behalf of BRI.


         There are only two causes of action in BRI's Complaint for which money damages are


requested. First, the breach of contract claim is directed at Val for his breach of the LOAA. The


claims within the Third-Party Complaint for conversion/misappropriation and trespass in no way


seek to shift liability for Val's breach of his LOAA to the individual Third-Party Defendants.

Similarly, while BRI's Complaint alleges that Third-Party Plaintiffs' have interfered with


prospective economic opportunities nothing in the Third-Party Plaintiffs' Complaint seeks to shift


liability for those lost opportunities from the Third-Party Plaintiffs to the Third-Party Defendants.


         Simply put, the third-party claims against the Third-Party Defendants are not derived from




5 Not only are these claims inappropriate as third-party claims brought pursuant to Rule 14, but, are the identical
claims alleged in a case ostensibly brought on behalf of BRI and subsequently dismissed with prejudice. See BRIv. Dan
Anderson, et al, M.ont First Jud Dist Ct, Lewis and dark Co, Cause No. DDV-2016-611. The doctrines ofresjudicata
and claim preclusion also bar this Third-Party Complaint as outlined and fully briefed m BRI's Motion to Dismiss filed
on December 2, 2016. BRI correctly asserts that preclusion doctrines require dismissal of the Third-Party Complaint.
Third-Party Plaintiffs admit that the third-party claims asserted in the subject Third-Party Complaint are identical to those
alleged in the -611 litigation. The -611 litigation was dismissed with prejudice. Accordingly, res judicata requires the
Third-Party Complaint be dismissed.
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BRI's claims against the Defendants/Third-Party Plaintiffs. BRPs claims are aimed at stopping the


Defendants'/Third-Party Plaintiffs' improper takeover attempt, while the Third-Party Plaintiffs'


claims against the Third-Party Defendants seek to validate the attempted takeover. Third-Party


Plaintiffs' claims should be dismissed.


        D. Third-Party Plaintiffs' Claims Against Paul IVlust be Dismissed Because BRl
                Has Not Waived the Attorney-CUent Privilege.


        Third-Party Defendants assert that the Third-Party Complaint against Paul should be


dismissed because BRI has not waived its attomey-client privilege and the only way for Paul to


appropriately defend himself, he would need to use and disclose attomey-client-privileged


information, which is prohibited by Montana law. The Court agrees. The Montana Supreme Court


has held that "the general rule is that, as to questions of evidence, the law of the fomm controls."


State v. Lynch, 1998 MT 308, ^ 21, 292 Mont. 144, 969 P.2d 920. This is true as to the application


of exclusionary rules, which would include the attomey-client privilege. See id, ; State ex r el. Union


Oil Co. ofCal. v. Dist. Court of Eighth Judicial Dist. In & For Cascade Cty., 160 Mont. 229,235


(1972) (recognizing that "[i]t is also well-established in other jurisdictions that the attomey-client

privilege applies to legal opinions prepared for use of a corporation by its house counsel."). Here,


the attomey-client privilege which attaches to the relationship between Paul and BRI acts as a


complete bar to any independent claims the Third-Party Plaintiffs may have against Paul in his


capacity as legal counsel to BRI. § 26-1-803, MCA.


       While Montana courts have not addressed the precise situation at issue here, they have


recognized that the attomey-client privilege extends to advice given by corporate counsel. See State


ex rel. Union Oil Co. ofCal, 160 Mont. at 235; see also Kuiper v. Dist. Court of Eighth Judicial



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Dist. of State of Mont., 193 Mont. 452, 461 (1981). The Court finds that Paul is constrained from


effectively drawing upon information necessary to defend himself adequately, because of the


privilege protections attached to his attomey-client communications shared with his client/co-


defendant, BRI.


        This precise legal issue has been fully litigated and decided in favor ofidentically situated

attomey-defendants (and subsequently followed), by the California appellate courts. M^cDermott,


Will & Emery v. Superior Court of Los Angeles County, et al., 83 Cal.App.4th 378, 99 Cal.Rptr.2d


622 (2000); Reilly v. Greenwald & Hoffman, LLP 196 Cal.App.4th 891, 906 (2011) and IP Telesis

Inc. v. Velocity Networks Inc., C.D. Cal. Case No. CV 11-09950 RGK(AJWx) (Nov. 5,2012). In its


decision, the California Court of Appeals made clear that such a derivative corporate claim against a


third-party would not constitute an "assignment" of the potential malpractice claim {id., at 83


Cal.App.4 3 82-83), but more to the point, it then ruled that the derivative plaintiffs could not waive


the corporation's attomey-client privilege. Specifically, the California Court of Appeals stated:


       Having held shareholders have standing to pursue a derivative action against an
       extracorporate third party to enforce the rights of the corporation provided certain
       prerequisites are satisfied, we must still confront the attomey-client privilege issues
       necessarily raised by a derivative malpractice action against corporate outside
       counsel. In holding a shareholder derivative action not to be tantamount to an
       assignment, we have reasoned that shareholders in such an action essentially "stand
       in the shoes" of the corporation. While this is tme for most purposes, the one
       notable exception is with respect to the attomey-client privilege.


       It is the corporation, and not the shareholder, who is the holder of the privilege. . ..
       Shareholders do not enjoy access to such privileged information merely because the
       attorney's actions also benefit them. . . . Nor do shareholders obtain the right to
       waive the privilege simply by virtue of filing the action on the corporation's behalf.


Id.


       The Court of Appeals then distinguished between an ordinary (i.e., non-derivative) legal

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malpractice claim - where an attorney would be permitted to defend him/herself against the client's


accusations, without a prohibition on using privileged information-and the untenable posture of


defending against such a derivative claim without such a waiver:


        Generally, the filing of a legal malpractice action against one's attorney results in a
       waiver of the privilege, thus enabling the attorney to disclose, to the extent necessary
       to defend against the action, information otherwise protected by the attomey-client
       privilege. . . . However, because a derivative action does not result in the
       corporation's waiver of the privilege, such a lawsuit against the corporation's outside
       counsel has the dangerous potential for robbing the attorney defendant of the only
       means he or she may have to mount any meaningful defense. It effectively places the
       defendant attorney in the untenable position of having to "preserve the attorney client
       privilege (the client having done nothing to waive the privilege) while trying to show
       that his representation of the client was not negligent."


83 Cal.App.4 at 383-84 (emphasis added). The Court of Appeals emphasized:


       We simply cannot conceive how an attorney is to mount a defense in a shareholder
       derivative action alleging a breach of duty to the corporate client, where, by the very
       nature of such an action, the attorney is foreclosed, in the absence of any waiver by
       the corporation, from disclosing the very communications which are alleged to
       constitute a breach of that duty.


83Cal.App.4that385.


       At no point in their opposition do Third-Party Plaintiffs address or attempt to contradict the


legal authority relied upon by Third-Party Defendants. The Court finds the McDermott decision


persuasive in this matter. Paul is in the untenable position of having to defend his actions as the


corporate counsel for BRI, but BRI has not waived its attomey-client privilege. In order to respond,


Paul would need to use and disclose attomey-client-privileged information, and this is prohibited by


Montana law. See § 26-1-803, MCA. The Third-Party Plaintiffs cannot themselves waive the


attomey-client privilege on behalf of BRI. Because of the "dangerous potential" that the defendant


outside corporate counsel could not defend himself against the derivative suit's malpractice claims



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without violating the attomey-client privilege, which is held by BRI, the third-party claims against


Paul must be dismissed.


                                         CONCLUSION

       For the reasons stated above, Third-Party Defendants' motion is granted.




Cc: Jordan Y. Crosby/James R. Zadick
       Oliver H. Goe
       John C. Doubek




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